Case: 1:17-md-02804-DAP Doc #: 2373-19 Filed: 08/14/19 1 of 2. PageID #: 388284




                EXHIBIT 44
              Case: 1:17-md-02804-DAP Doc #: 2373-19 Filed: 08/14/19 2 of 2. PageID #: 388285

   FW: Euclid family pharmacy

   From:

   "Moore, Andrew" <andrew.moore@mckesson.com>

   To:
   "Lumpkin, Joe" <joe.lumpkin@mckesson.com>

   Cc:
   "Kuczynski, John" <john.kuczynski@mckesson.com>, "Grayson, Kimberly" <kimberiy.grayson@mckesson.com> , "Snider, Blaine" <blaine.snider@mckesson.com>

   Date:

   Fri, 20 Sep 2013 16:12:51 +0000


   !11 Joe,
   I'm fo!iowing up to see wtiat's the review status for Eur.lid.
   Th aPks
   Andrew
   Andrew Moore
   Vice Presider.t & General Manager
   McKesson Northeast Regio;i
   From: Lumpkin, Joe
   Sent: Monday, September 16, 2013 3:31 PM
   To: Grayson, Kimberly
   Cc: Zwick, Joel; Kuczynski, John; Snider, Blaine; Nusser, Dale
   Subject: RE: Euclid family pharmacy
   Kim,
   No, I am not going to increase their thresholds at this time, since I have not reviewed the data thoroughly that they provided and have other priortties ahead of them.
   Although I did a sile visit about a month ago and they provided some data, it doesn't mean that there will be any increases, only that their account would be subject to
   review. I told them it would not happen for awhile and 1hat they needed to be patient.
   I believe that the only one they want raised is their Oxy th reshold, since they are currently al 72% midway 1hrough the month. They have been very persistent in calling
   and emailing me and others.
   Their thresholds will remain the same for now and I see no adjustments being made until the review process is complete.
   Thanks,
   Joe Lumpkin
   Regional Director, Regulatory Affairs
   McKesson Pharmaceutical, North East Region
   10504 McKesson Dr.
   Ruther Glen, VA 22546
   804-448-4142 Ofc
   804-683-4670 Cell
   804-448-4573 Fax
   Confidentiality Notice: This e-mail message, including any attachments. is tor the sole use of the intended recipient(s) and may contain confidential and priVileged information. Any
   unauthorized review. use, disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply e-mail and destroy all copies of the original
   message.


   From: Grayson, Kimberly
   Sent: Monday, September 16, 2013 1:40 PM
   To: Lumpkin, Joe
   Cc: Zwick, Joel; Kuczynski, John; Snider, Blaine; Nusser, Dale
   Subject: RE: Euclid family pharmacy
   Hi Joe,
   After your visit to Eui:.Hd Farni!y Pharmacy in Cieveia1'd, were you :able to issue :a threshold increas~e
   Euclid Fam ily Pharmacy: 667127

   Thank You,
   Kim Graysor.
   Reta il Sales Manager
   M cKesson Pharrnaceut!c;il
   412.728.845'7
   kimberly.gra~so n@mckesson.com

   From: Zwick, Joel
   Sent: Monday, September 16, 2013 1:35 PM
   To: Kuczynski, John; Grayson, Kimberly; Snider, Blaine; Nusser, Dale
   Cc: williams@vahoo.com
   Subject: Euclid family pharmacy
   John,
   Tim @ Euclid fam ily Pharmacy (667127) is concerned about his Oxycodone t hreshold. Joe Lumpki n visited his site about a month ago a nd Tim was expecting an
   answer ifthere would be an increase or not! Can you look into this?
   Thanks,
   Joel




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